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 5

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     LEONARD WALTER
 7

 8
                                   UNITED STATES DISTRICT COURT
 9
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10
                                                  )
11   UNITED STATES OF AMERICA,                    )   Case No. 2:14-CR-0210-JAM
                                                  )
12                                                )   STIPULATION REGARDING
                            Plaintiff,            )   EXCLUDABLE TIME PERIODS
13                                                )   UNDER THE SPEEDY TRIAL ACT;
             vs.                                  )
14                                                )   FINDINGS AND ORDER
     JAMES CLINE, et al.,                         )
15                                                )   DATE: May 10, 2016
                            Defendants.           )   TIME: 9:15 a.m.
16                                                )   JUDGE: John A. Mendez
                                                  )
17

18           Plaintiff United States of America, by and through Assistant United States

19   Attorney Jason Hitt; defendant Leonard Walter, by and through counsel Scott L.
20
     Tedmon; and defendant James Cline, by and through counsel Danny D. Brace, Jr.,
21
     hereby agree and stipulate as follows:
22
         1. By previous order, this matter was set for status conference on May 10, 2016
23

24           at 9:15 a.m.

25       2. By this stipulation, the parties now move to continue the status conference to
26
             Tuesday, August 16, 2016 at 9:15 a.m., and to exclude time between May 10,
27
             2016 and August 16, 2016 under Local Code T4.
28
         3. The parties agree and stipulate, and request the Court find the following:


     Stipulation; [Proposed] Findings and Order                     Case No. 2:14-CR-0210-JAM
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 1           a) On April 18, 2016, the Court ordered that Scott L. Tedmon be substituted
 2
                  in as counsel of record for defendant Leonard Walter, replacing former
 3
                  counsel of record Jennifer C. Noble.
 4
             b) Given his recent appointment to the case, Mr. Tedmon needs additional
 5

 6                time to review defendant Leonard Walter’s case, which includes

 7                government produced discovery. This discovery was produced by the
 8
                  government to former defense counsel Jennifer C. Noble and has now
 9
                  been provided to Mr. Tedmon. Further, Mr. Tedmon needs time to
10
                  consult with defendant Leonard Walter regarding the status of the case,
11

12                determine if there is a need for defense investigation, and discuss the

13                possibility of a plea offer from the government.
14
             c) Mr. Tedmon believes the failure to grant the above-requested continuance
15
                  would deny him reasonable time necessary for effective preparation,
16
                  taking into account the exercise of due diligence. Counsel for the
17

18                government and counsel for co-defendant James Cline have no objection

19                to Mr. Tedmon’s request for additional time to prepare the case.
20
             d) Based on the foregoing, the ends of justice served by continuing the case
21
                  as requested outweigh the best interest of the public and the defendants
22
                  in a speedy trial within the original date prescribed by the Speedy Trial
23

24                Act.

25           e) For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §
26
                  3161, et seq., within which trial must commence, the time period of May
27
                  10, 2016 to August 16, 2016, inclusive, is deemed excludable pursuant to
28
                  18 U.S.C. § 3161(h)(7)(A), (B)(iv) [Local Code T4] because it results from a


     Stipulation; [Proposed] Findings and Order                        Case No. 2:14-CR-0210-JAM
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 1                continuance granted by the Court at the defendants request on the basis
 2
                  of the Court’s finding that the ends of justice served by taking such action
 3
                  outweigh the best interest of the public and defendants in a speedy trial.
 4
         4. Nothing in this stipulation and order shall preclude a finding that other
 5

 6           provisions of the Speedy Trial Act dictate that additional time periods are

 7           excludable from the period within which a trial must commence.
 8
             IT IS SO STIPULATED.
 9
     DATED: May 5, 2016                                 PHILLIP A. TALBERT
10                                                      United States Attorney
11
                                                        /s/ Jason Hitt
12                                                      JASON HITT
                                                        Assistant U.S. Attorney
13
     DATED: May 5, 2016                                 LAW OFFICES OF SCOTT L. TEDMON
14

15                                                      /s/ Scott L. Tedmon
                                                        SCOTT L. TEDMON
16                                                      Attorney for Defendant Leonard Walter
17
     DATED: May 5, 2016                                 LAW OFFICES OF DANNY D. BRACE, JR.
18
                                                        /s/ Danny D. Brace, Jr.
19                                                      DANNY D. BRACE, Jr.
                                                        Attorney for Defendant James Cline
20

21

22                                      FINDINGS AND ORDER
23

24           IT IS SO FOUND AND ORDERED.

25   DATED: May 6, 2016
26
                                                  /s/ John A. Mendez
27                                                JOHN A. MENDEZ
                                                  United States District Court Judge
28




     Stipulation; [Proposed] Findings and Order                              Case No. 2:14-CR-0210-JAM
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